     Case 3:13-cv-02467-B Document 10 Filed 11/08/13                Page 1 of 2 PageID 31



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

VANESSA SMITH,                                §
                                              §
       Plaintiff,                             §
                                              §       CIVIL ACTION NO. 3:13-cv-02467-B
v.                                            §
                                              §
PREMIERE CREDIT OF NORTH                      §
AMERICA, LLC,                                 §
                                              §
       Defendant.                             §

                       NOTICE OF DISMISSAL WITH PREJUDICE

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       NOTICE IS HEREBY GIVEN that Plaintiff has filed with the Clerk of the District

Court, Northern District of Texas, Plaintiff’s Notice of Dismissal of Case With Prejudice, a copy

of which is herewith served upon Defendant.

                             Respectfully submitted this 8th day of November, 2013,

                                                      By: s/Joseph Panvini
                                                      Joseph Panvini
                                                      WEISBERG & MEYERS, LLC
                                                      5025 North Central Ave. #602
                                                      Phoenix, AZ 85012
                                                      Telephone: (888) 595-9111 ext. 125
                                                      Facsimile: (866) 565-1327
                                                      jpanvini@AttorneysForConsumers.com

                                                      Kirk Claunch
                                                      Texas Bar No. 04326075
                                                      Jim Claunch
                                                      Texas Bar No. 04326000
                                                      2912 West Sixth Street
                                                      Fort Worth, Texas 76107
                                                      Telephone: (817) 335-4003
                                                      Facsimile: (817) 335-7112

                                                      Attorneys for Plaintiff
                                                      VANESSA SMITH


                                                  1
     Case 3:13-cv-02467-B Document 10 Filed 11/08/13                 Page 2 of 2 PageID 32



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

VANESSA SMITH,                                §
                                              §
       Plaintiff,                             §
                                              §         CIVIL ACTION NO. 3:13-cv-02467-B
v.                                            §
                                              §
PREMIERE CREDIT OF NORTH                      §
AMERICA, LLC,                                 §
                                              §
       Defendant.                             §

                                 CERTIFICATE OF SERVICE

       I certify that on November 8, 2013, I electronically filed the foregoing Notice of

Dismissal with the clerk of the U.S. District Court, Northern District of Texas, Dallas Division,

using the electronic case filing system of the court.



                                                         s/Joseph Panvini
                                                        Joseph Panvini




                                                  2
